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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                        8:92CR14
                              )
          v.                  )
                              )
ROY WILLIAMS,                 )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for extension of time (Filing No. 1052), and his motion for

reconsideration by the Court of its order of January 4, 2007

(Filing No. 1053).      In view of the explanation contained in

defendant’s motion for extension of time, that motion will be

granted.   His motion for reconsideration will be deemed timely

filed.

           Initially, the Court notes that its order of January 4,

2007, made reference in Paragraph (2) on Page 2 of that opinion

to 21 U.S.C. § 646.      That reference is in error and should read

“21 U.S.C. § 846.”

           Having reviewed the defendant’s motion for

reconsideration and amendment 591, the Court finds that

defendant’s motion for reconsideration should be denied.

Parenthetically, the Court notes that on May 11, 2001, the

defendant filed a motion to vacate, set aside or correct his

sentence pursuant to 28 U.S.C. § 2255.          The amendment upon which
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he relies as the basis for his current motions was adopted

effective November 1, 2000, six months prior to the filing of his

motion, and should have been included in that motion.                His

present motion, which the Court denied on January 4, 2007, in

effect constitutes a second motion pursuant to 28 U.S.C. § 2255

and should have been denied on that basis as he had not obtained

approval from the Court of Appeals to file a successive § 2255

motion.   The Court finds that in addition to the reasons

previously stated that his failure to include this motion in his

§ 2255 motion constitutes a waiver of any claim he believes he

may have pursuant to Amendment 591.

           For all of these reasons, defendant’s motion for

reconsideration will be denied.         Accordingly,

           IT IS ORDERED:

           1) Defendant’s motion for extension of time is granted;

defendant’s motion for reconsideration is deemed timely filed.

           2) Defendant’s motion for reconsideration is denied.

           DATED this 30th day of March, 2007.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court




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